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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiff,                             4:13CR3057
     vs.
                                                          ORDER
SCOTT USHER and ROBIN USHER,
                 Defendants.


     IT IS ORDERED that:

     1.    The plaintiff's Motion to Continue (filing 123) is granted.

     2.    The May 1, 2015 evidentiary hearing currently set as to both
           defendants is continued.

     3.    On the Court's own motion, the May 22, 2015 sentencing hearing
           currently set as to defendant Robin Usher is continued.

     4.    A sentencing hearing is set as to defendant Scott Usher, and an
           evidentiary hearing is set as to defendant Robin Usher, on June
           9, 2015, at 9:00 a.m., before the undersigned United States
           District Judge, in Courtroom No. 1, Robert V. Denney United
           States Courthouse and Federal Building, 100 Centennial Mall
           North, Lincoln, Nebraska.

     5.    A sentencing hearing is set as to defendant Robin Usher on June
           10, 2015, at 10:00 a.m., before the undersigned United States
           District Judge, in Courtroom No. 1, Robert V. Denney United
           States Courthouse and Federal Building, 100 Centennial Mall
           North, Lincoln, Nebraska.

     Dated this 29th day of April, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
